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                                  No. 23-1671


                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT


DANA NESSEL, Attorney General of the State of Michigan, on behalf of the
People of the State of Michigan,

     Plaintiff-Appellant,
v.

ENBRIDGE ENERGY LIMITED PARTNERSHIP, ENBRIDGE ENERGY
COMPANY, INC., and ENBRIDGE ENERGY PARTNERS, L.P.,

     Defendants-Appellees.


                On Appeal from the United States District Court
                Western District of Michigan, Southern Division
                           Honorable Janet T. Neff


             CONSENTED-TO BRIEF FOR AMICUS CURIAE
                GREAT LAKES BUSINESS NETWORK

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                                 INTRODUCTION

      The Great Lakes Business Network ("Business Network"), composed of

more than 200 businesses concentrated geographically around the Great Lakes and

predominated by local Michigan companies, urges that this lawsuit, the outcome of

which is vital to their survival, be heard in a Michigan state court, where it was

initially filed.1 The business owners, candidly and justifiably calculating their own

self-interest, want the state court to weigh the actual, nearly inevitable destruction

of the enterprises, jobs, tax base, and prosperity that they have painstakingly

created over generations, against the purely hypothetical, and decidedly

speculative, economic losses that the oil and gas industry predicts from the

decommissioning of a 70-year-old pipeline, barely a single segment of which has

been replaced or upgraded. We are not a political or advocacy organization. We are

business realists, with responsibilities to the employees, investors, customers, and

local and state governments that we support. We want and believe we are entitled

to have this critical case heard in state court in Michigan. For the legal reasons set

forth below, we support the State's choice of forum in this case. We assume no


1
  Neither party objects to the Business Network’s filing of this amicus brief. No
party or its counsel authored any part of this brief or contributed money to support
its preparation or submission. No person other than the Business Network
contributed money to prepare or submit this brief.


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particular outcome, but we believe that evidence relevant to the following factors

should be ruled upon in state court:

         1. the disastrous history of Enbridge pipelines generally and in Michigan;

         2. the terrifying record of near misses to the Line 5 pipeline in the Straits

            of Mackinac;

         3. expert analysis of both the likelihood of rupture in Lake Michigan and

            the specific resulting destruction to the shorelines of Lakes Michigan

            and Huron when rupture occurs; and

         4. the protections that Michigan public trust law uniquely affords to avoid

            these calamitous consequences.

             Our business calculations support decommissioning Line 5. Our

understanding of the applicable law dictates that this critical relief be decided in a

Michigan state court. And our membership is unanimously committed to this

outcome.


                    INTEREST OF THE AMICUS CURIAE

      Amicus curiae, the Great Lakes Business Network (“Business Network”) is

an unincorporated association of prominent businesses and business leaders in the

Great Lakes region. The Business Network seeks to provide for “thriving




                                           2
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ecosystems, economies, and communities” in the Great Lakes area.2 Each member

business depends on the purity and quality of the Great Lakes and their reputations

as healthy and beautiful lakes. Of particular concern to the Business Network is

Line 5 and its high likelihood of rupture. Any oil spill in the Great Lakes would

gravely injure the businesses and communities that depend on the water.

      The Business Network has attracted member-businesses from a wide array

of industries, all of which are significant to the Michigan economy. The Business

Network has steadily grown from 11 founding businesses to over 200. Larger

member-businesses, such as Bell’s Brewery, Patagonia, and Cherry Republic, have

broad market reach in their respective industries across the region. However, each

and every business in the Business Network contributes to the region’s rich

economy, and all of them depend on the health and reputation of the Great Lakes

for survival.

      The craft beer industry, which is valued to be a $1 billion per year industry

in Michigan,3 is just one industry that depends on the vitality of the Great Lakes.

Richard Bergmann, the owner of Bridge Street Tap Room and a Business Network



2
  About GLBN, Great Lakes Bus. Network, https://glbusinessnetwork.com/great-
lakes-business-network/ (last visited May 2, 2023).
3
  Haley Hansen, What’s Craft Beer Worth to the State of Michigan?, Lansing State
Journal (May 15, 2019),
https://www.lansingstatejournal.com/story/news/2019/05/15/craft-beer-worth-
state-michigan-state-economy-msu/1166262001/.
                                          3
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member, credits the environmental health of the Great Lakes with sustaining his

business. Upon joining the Business Network, Bergmann stated:

       We draw our water from the Charlevoix municipal system, sourced directly
       from Lake Michigan. Water of the highest quality is what makes it possible
       for us to succeed and employ 65 people, while helping to build the economic
       base for Charlevoix and the surrounding area.4

Bell’s Brewery, too, depends on the health and vitality of the Great Lakes to

remain marketable. One of its more popular brews is Lager for the Lakes, which it

says was “inspired” by the Great Lakes. “[F]resh water is so vital in many

ways…The name is intentional: it’s a reminder that great beers require clean

water.” 5

       Bell’s Breweries was gravely threatened by the Kalamazoo River oil spill in

2010, which resulted after Enbridge Line 6B had been so neglected by Enbridge

that it corroded and then ruptured beneath a major tributary to the Kalamazoo

River, causing over $1 billion worth of damage. This oil spill was one of the

largest inland oil spills in U.S history and took more than 7 years to clean up.

Many businesses that depended on those waters did not survive.6



4
  Richard Bergmann, Bridge Street Tap Room, Great Lakes Bus.
Network, https://glbusinessnetwork.com/partners/glbn-members/ (last visited
September 20, 2023).
5
  Lager for the Lakes, Bell’s Brewery https://bellsbeer.com/news/lager-for-the-
lakes-bells-new-beer-thats-crisp-refreshing-and-timeless/
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  Press Release, Drew YoungDyke, Seven Years Later, Kalamazoo River Oil Spill
Cleanup Still Ongoing, National Wildlife Federation (June 9, 2017),
                                          4
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      As failed clean-up efforts dragged on and environmental groups including

the National Wildlife Federation began prying additional information out of

Enbridge regarding its larger network of pipelines, Business Network members

took note of the haunting similarities between the Enbridge-operated pipelines in

Kalamazoo and the segment of Line 5 beneath the Straits of Mackinac. These two

20-inch pipes on the lakebed or unevenly suspended above it are 15 years older

than, and have been subject to almost the exact same lack of maintenance as, the

ruptured pipeline in Kalamazoo. Line 6B sent over one million gallons of oil into

the Kalamazoo River over the course of 17 hours. 7

      These businesses have good reason to fear such a catastrophe. Line 5 is

rendered highly vulnerable to rupture by its location beneath the Straits of

Mackinac. The Straits are a point of convergence for multiple lanes of high-volume

domestic and international shipping traffic, funneling ships between two of the

most heavily-trafficked lakes in the world.8 Line 5 lies directly below that point of

convergence, in relatively shallow water, perpendicular to ship traffic. It is



https://www.nwf.org/Home/Latest-News/Press-Releases/2017/6-9-17-Seven-
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7
  Jeff Alexander & Beth Wallace, Sunken Hazard, National Wildlife Federation
(Oct. 8, 2012), https://www.nwf.org/Educational-Resources/Reports/2012/10-08-
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8
   To view a live traffic density map of the Mackinac Strait, see Mackinac Strat
Ship Traffic, ShipTraffic.net, http://www.shiptraffic.net/2001/04/mackinac-strait-
ship-traffic.html (last visited May 2, 2023).
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perilously sized and situated to catch within the shanks and flukes of a typical

shipping anchor. The currents at this spot interact unpredictably, making surface

turbulence common and often severe, thus increasing the risk of inadvertent anchor

release.9

      A strike from an anchor or cable drag is highly likely in this location. In

2015, the State of Michigan commissioned an analysis of the Straits pipelines by

Dynamic Risk Assessment Systems, Inc., which was paid for by Enbridge. Its

October 2017 Final Report estimated that the chance of rupture in the Straits

pipeline is not in one in one million, or one in ten thousand, or even one in a

thousand, the usual risk factors for environmental harm—but one in sixty,10 the

dominant threat to rupture being inadvertent anchor drops.11 This figure is almost

certainly an overly optimistic assessment, considering that Line 5 was twice struck

by an anchor or cable drag within the first four years after the Report’s publishing.

First, less than eight months after the report’s publication, a tugboat inadvertently

dropped and dragged its anchor across the lakebed at the Straits, severing several



9
  David J. Schwab, Univ. of Mich. Water Ctr., Straits of Mackinac Contaminant
Release Scenarios: Flow Visualization and Tracer Simulations, 1 (2014),
http://graham.umich.edu/media/files/mackinac-report.pdf.
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   Alternatives Analysis for the Straits Pipeline–Final Report, Dynamic Risk, 2-127
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1.6 per hundred over 35 years, which is 1-in-60).
11
   Id. at ES-25.
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electrical transmission cables and denting both Line 5 pipelines.12 It took nearly

two weeks for Enbridge to fully understand the damage, and Enbridge refused to

shut down the pipelines in the meantime. Two years later, an unknown vessel

dragged a cable over Line 5, tangling an anchor support on the west leg and

sharply yanking the support and the pipeline to the side.13 It is only a matter of

time before the lines are dealt a fatal blow.

       Thus, it is not a question of what happens if the lines fail, but what happens

when the lines fail. And when the pipeline does eventually fail, the damage to the

Great Lakes will be immense. Michigan Technological University used a NOAA

oil dispersal model for the Straits to analyze the scale of contamination from a

rupture and concluded that up to 2,000 kilometers of shoreline and 1,700 square

kilometers of the open waters of Lakes Huron and Michigan would be blanketed

by the oil spill.14




12
   Mark Tower, Broken Cables Capped as Straits of Mackinac Spill Response
Continues, MLive (Apr. 30, 2018), https://www.mlive.com/news/grand-
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   Beth LeBlanc, Enbridge-contracted Vessels Among Those Suspected in Damage
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https://www.detroitnews.com/story/news/local/michigan/2020/07/23/enbridge-
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14
   See Mich. Tech. Inst., Independent Risk Analysis for Straits Pipelines, Final
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                                           7
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      More than the environmental health of the Great Lakes is at stake here. The

very livelihoods of members of the Business Network, as well as surrounding

communities, would be imperiled by a Line 5 rupture. When Line 5 ruptures in the

Straits of Mackinac it will cause cataclysmic damage to the health, image, and

reputation of the Great Lakes. This damage will seep into and decimate the rich

business economy in Michigan that depends upon the health and safety of the

Great Lakes. Most, if not all, Michigan businesses (including numerous GLBN

members) will suffer lost profits. Many businesses will never recover.

      The vitality and survival of Michigan’s and the Great Lakes region’s outdoor

recreation industry is uniquely bound to the environmental health and safety of the

Lakes. According to the Bureau of Economic Analysis, in 2020, outdoor recreation

in the State of Michigan accounted for 108,673 jobs, with wages totaling $4.6

billion and $9.5 billion value added to the Michigan GDP.15 In 2014, “over 113

million visitors spent over $22 billion in Michigan alone” visiting the Great

Lakes.16 According to the National Beer Wholesalers Association, the craft beer

industry—in which many Business Network members participate and lead—



15
   U.S. Bureau of Economic Analysis, 2020 – Michigan, Outdoor Recreation
Satellite       Account         (ORSA),         https://outdoorindustry.org/wp-
content/uploads/2015/03/ORSA-Michigan.pdf (last visited Feb. 10, 2022).
16
   Mich. Sea Grant, The Dynamic Great Lakes Economy, Employment Trends from
2009 to 2018,            (Oct. 2020), https://www.michiganseagrant.org/wp-
content/uploads/2020/10/MICHU-20-715-Great-Lakes-Jobs-Report-fact-sheet.pdf.
                                         8
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supports 66,900 jobs in Michigan and contributes more than $9.9 billion to the

state’s economy.17

       When Line 5 ruptures, each of the eight Great Lakes States and the United

States as a whole will feel the negative economic impact from the damage it will

cause to the Great Lakes. This is confirmed by the Michigan Tech study that

concluded that a Line 5 rupture could result in at least $1.878 billion in economic

damages due to lost tourism income, harm to fisheries and fishing, other

recreational damage, and public health costs.18 However, even that number

dramatically underestimates the economic impact to the state’s Pure Michigan

brand and the tourism and recreation dollars that would be lost. A subsequent study

from a Michigan State University expert puts the damage from a major spill much

higher, at $5.6 billion.19

       We expect that Enbridge and its supporting amici will posit that the national

economic concerns from shutting down Line 5—jobs, energy security, and

consumer prices—would over-ride the damage a Line 5 rupture will cause


17
   Dave Bartkowiak, Jr., Michigan’s Beer Industry Chugs Along: $9.9 Billion to
State’s Economy, CLICK ON DETROIT (July 9, 2021)
https://www.clickondetroit.com/features/2021/07/09/michigans-beer-industry-
chugs-along-99-billion-to-states-economy/#//.
18
   Alternatives Analysis for the Straits Pipeline–Final Report, supra note 11, at 31.
19
   Robert B. Richardson & Nathan Brugnone, Oil Spill Economics: Estimates of the
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content/uploads/2018/05/FLOW_Report_Line-5_Final-release-1.pdf).
                                          9
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Business Network members and other Michigan businesses. But those national

economic concerns are not only exaggerated—they are disproved by Enbridge’s

own experts. In a case involving the shutdown of Line 5 heard in the federal

district court in Wisconsin, Enbridge’s economic expert testified that if Line 5

shuts down, because of the availability of refined product, the price of gasoline at

the pump would increase only one half to one cent per gallon.20 Enbridge’s experts

further testified that virtually all of the 400,000-450,000 barrels per day supplied to

refineries by Line 5 would be replaced by market forces – some immediately and

the rest within 18 months: 200,000 barrels per day by waterborne transport to

refineries in Montreal, where it would be shipped to other refineries in the region;21

100,000 barrels per day in existing excess capacity in another Michigan pipeline,

Line 78, that does not transit the Straits;22 and at least 110,000 barrels per day that

Enbridge can add to Line 78 simply by adding pumping capacity (without laying




20
   Expert Report of Neil K. Earnest at 12, Bad River Band of the Lake Superior
Tribe of Chippewa Indians of the Bad River Reservation v. Enbridge Energy
Company, Inc., 626 F.Supp.3d 1030 (W.D. Wis. 2022) (No. 19-CV-602-WMC)
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22
   Tr. of Earnest Testimony, supra note 22, at 99:11–20; Expert Report of Neil K.
Earnest, supra note 21, at 65; Expert Report of Sarah Emerson, supra note 22, at
24–26.
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new pipe).23 And even more capacity exists through the expansion of rail.24

Because the refineries supplied by Line 5 now would receive a full complement of

oil from other sources, there would be no job loss or energy security concerns.

These phantom economic losses from a Line 5 shutdown cannot compare to the

concrete, real, and massive damage that Business Network members and other

Great Lakes businesses would suffer.

      Business Network members recognize the threat Line 5 poses to the Great

Lakes, its businesses, and our own livelihoods, and we consequently support the

efforts by the Michigan Attorney General to shut down Line 5 in the Straits. We

are encouraged that the federal laws—as indicated in the very statutes and treaty

cited by Enbridge and the District court—reflect our concerns. Those federal laws

provide for state primacy in situations where pipelines threaten local resources,

businesses, and citizens. In order to protect interests like ours, states—not the

federal government—are expressly authorized to make siting decisions under the

Pipeline Safety Act and the 1977 Transit Treaty.


23
   Defs.’ Objs. and Resps. to Pls.’ Fourth Set of Interrogs. at 5, Bad River Band
(describing actions needed to expand each segment of Line 78); Expert Rebuttal
Report of Graham Brisben at 61-62, Bad River Band (“The Line 78 expansion
would mostly involve increasing the pressure of the pipeline by adding
compression (vs. replacing with bigger pipe or twinning the pipeline).”) (showing
expansion of Line 78A from 570,000 bpd to 680,000 bpd of capacity would allow
for full use of downstream pipelines Line 78B, Line 17, and Line 79).
24
   Expert Rebuttal Report of Sarah Emerson at 6 fig. 2, 19-20, Bad River Band.

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                                      ARGUMENT

         The District Court’s refusal to remand Michigan Attorney General Nessel’s

state court public trust claim must be reversed for two independent reasons:

         • Enbridge removed the case two years past the mandatory statutory

            deadline (answering the first two questions certified for appeal); and

         • Even if the removal had been timely, the federal courts have no grounds

            for exercising federal jurisdiction in this case (addressing the third

            certified question).

 I.      Removal is barred because Enbridge filed for removal at least two years
         after removability was ascertained.

      As the Attorney General’s Brief demonstrates in detail, the District Court erred

in excusing Enbridge’s two-year violation of the removal statute’s deadline. The

removal statute is clear: “The notice of removal of a civil action or proceeding

shall be filed within 30 days after the receipt by the defendant . . . of the initial

pleading setting forth the claim for relief upon which such action or proceeding is

based. . . .” 28 U.S.C. § 1446(b)(1). Enbridge received service of the Michigan

Attorney General’s complaint on July 12, 2019. Enbridge did not file its removal

action until December 15, 2021, more than two years later. There is no dispute




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over this timing. Enbridge’s removal notice is over two years too late. The case

must be remanded.25

      Enbridge has attempted to manufacture exceptions to this undisputed

violation of the statute’s deadlines, but the federal courts and particularly the Sixth

Circuit do not recognize any of them. The Attorney General’s brief ably addresses

all of the exceptions Enbridge raises; we will address one here: Enbridge’s attempt

to employ another subsection of the removal statute, 28 U.S.C. § 1446(b)(3), which

allows a defendant to file for removal “within thirty days after receipt by defendant

. . . of a copy of an amended pleading, motion, order or other paper from which it

may first be ascertained that the case is one which is or has become removable.”

Enbridge has argued and the District Court erroneously held that Enbridge could

not have ascertained the case was removable until November 16, 2021, when the

District Court denied the motion to remand another removed case by another

plaintiff, the State of Michigan.

      It defies logic and law to conclude that Enbridge could not ascertain the

removability of the Attorney General’s case until the District Court ruled on the

removability of the State of Michigan’s case a full two years after the Attorney

General’s case had been filed. The central cause of action was the same: the state’s



25
  This violation of the 30-day deadline bars Enbridge from raising any claims of
federal jurisdiction as grounds for removal, including federal officer removal.
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application of the Michigan public trust doctrine to the state-issued easement to

Enbridge. As detailed in the Attorney General’s brief, Enbridge raised the same

federal issues as defenses throughout the state court proceedings for a full year

after the Attorney General’s state court complaint: in summary disposition, in oral

argument, and defending (unsuccessfully) against an emergency temporary

injunction to shut down the dual pipelines because they had been damaged by

cables dragged across them.26 Then Enbridge doubled down, transforming those

defenses into a federal cause of action in December 2020, when it sued the

Governor and the State of Michigan for relief from the same state public trust

doctrine using the same federal claims. Once Enbridge raised these federal

defenses in the instant state court case, made claims of the existence of a federal

cause of action in a parallel case, and then robustly litigated both of them, it

essentially admitted that it had everything it needed to notice removal in the instant

case—over a full year before it did so.

      And if somehow any question remained about when Enbridge had

ascertained the removability of the Attorney General’s case, that question was set

to rest on December 15, 2021, a full year before Enbridge removed the instant

case. On December 15, 2021 Enbridge removed a similar public trust action



26
  Brief for Plaintiff-Appellant at 64-66, Nessel v. Enbridge Energy Limited, No.
23- 1671, 2023 WL 2482922 (W.D. Mich. Feb. 21, 2023).
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brought by the State of Michigan citing the same federal issues (the Pipeline Safety

Act, the 1977 Transit Treaty, and federal common law) that claim to be the basis of

removal in the instant case. To be clear: Enbridge did not merely seek removal in

the parallel case at that time. The removal actually occurred on December 15, 2021

with the filing of Enbridge’s notice of removal. On that date, Enbridge’s filing of

the removal notice deprived the state court and granted the federal district court

jurisdiction of the case; no judicial decision was required. There could be no

clearer ascertainment of the removability of the instant case than Enbridge’s actual

and successful removal of the same state issue claiming the same federal grounds a

full year earlier than its notice of removal in the instant case. The District Court

opinion a year later may have held (erroneously, we believe) that the Enbridge’s

removal in the parallel case was proper, but it certainly was not the first time when

removal could be ascertained.27 And the District Court opinion could not possibly

be a litigation event that justified resetting the deadline clock (even if such a

revival exception were allowed in the Sixth Circuit, which it is not): it opined on

the event that occurred a year before, when the actual removal occurred.

      The District Court committed these errors because of its stated unhappiness

with plaintiff’s efforts to keep the case in state court. The District Court believed


27
  Indeed, if a judicial decision is a prerequisite to ascertain removability, then
removability could never be ascertained in the vast majority of cases and the 30-
day deadline would be read out of the statute.
                                           15
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that her court should decide what she believes are weighty federal issues (which as

discussed below really are reserved for the states) and accuses the Attorney

General of forum manipulation. That accusation is perhaps the most baffling part

of the lower court opinion. Removal is not the rule; it is the exception. “[A]

plaintiff’s choice of forum is given deference,” Jones v. IPX International

Equatorial Guinea, S.A., 920 F.3d 1085 (6th Cir. 2019), and the Attorney General

chose state court because the causes of action are exclusively under state law.

Enbridge litigated this case for over a year in state court: filing motions, making

arguments at hearings, presenting evidence, and defending against an emergency

motion to shut down Line 5. Only after Enbridge lost that motion in July, 2021—

when the state judge ordered it to shut down part of the pipeline for several

months—did Enbridge seek a federal forum, and then for a different case. Seeking

to conflate two different cases to avoid a statutory deadline is the very definition of

forum manipulation, and the District Court opinion has blessed it.28

     We now turn to the District Court’s second set of errors concluding that federal

jurisdiction must lie in a state public trust and nuisance action.




28
  The District court erroneously stated that the state court action is concluded
because the state court closed the docket. In fact, the state court closed the docket
because the federal removal had deprived it of jurisdiction. If the case is remanded,
the state court litigation would resume where it had left off: with the state court
considering cross-motions for summary disposition.
                                           16
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II.      Because Congress has explicitly reserved primary authority to the state
         in this case, this case does not present a substantial question of federal
         law that gives rise to federal jurisdiction.

      Removal of a state court action to federal court is governed by 28 U.S.C. §

1441(a) and normally allows removal only when the federal district court has

original jurisdiction.

         Only state-court actions that originally could have been filed in federal court
         may be removed to federal court by the defendant. Absent diversity of
         citizenship, federal-question jurisdiction is required. The presence or
         absence of federal-question jurisdiction is governed by the "well-pleaded
         complaint rule," which provides that federal jurisdiction exists only when a
         federal question is presented on the face of the plaintiff's properly pleaded
         complaint. See Gully v. First National Bank, 299 U.S. 109, 112-13
         (1936). The rule makes the plaintiff the master of the claim; he or she may
         avoid federal jurisdiction by exclusive reliance on state law.

Caterpillar v. Williams, 482 U.S. 386, 392 (1987) (footnote omitted).

         Where, as in this case, a federal question is absent from the face of the

complaint, removal is rare. The exceptions to the well-pleaded complaint rule are a

“special and small category” of claims. Empire Healthchoice Assurance, Inc. v.

McVeigh, 547 U.S. 677, 699 (2006). The exception claimed by Enbridge in this

case is the “substantial-federal-question,” or Grable doctrine, which holds removal

may be allowed “where the vindication of a right under state law necessarily

turn[s] on some construction of federal law.” See Mikulski v. Centerior Energy

Corp., 501 F.3d 555, 560 (6th Cir. 2007).




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      The Sixth Circuit has a three-prong inquiry for determining whether a

federal issue, unstated in a complaint, can force a case into federal court: (1) does

“a state-law claim necessarily raise a stated federal issue,” (2) that is “actually

disputed and substantial,” and (3) “which a federal forum may entertain without

disturbing any congressionally approved balance of federal and state judicial

responsibilities.” Estate of Cornell v. Bayview Loan Servicing, LLC, 980 F.3d

1008, 1014 (6th Cir. 2018) (quoting Grable & Sons v. Darue Engineering, 545

U.S. 308, 314 (2005)). The party seeking removal bears the burden of

demonstrating that a federal court has jurisdiction and all doubts are resolved in

favor of remand. Eastman v. Marine Mechanical Corp., 438 F.3d 544, 549-50 (6th

Cir. 2006).

      Here, it is undisputed that Attorney General Nessel’s state law claims raise

no federal issues on their face. The Attorney General’s claims all revolve around

the easement the State of Michigan issued Enbridge to house Line 5 and whether

that easement should be terminated under the state’s public trust doctrine. There is

no federal element. Enbridge attempts to manufacture requirements that the state

law action requires the resolution of two federal laws: the Pipeline Safety Act

(“PSA”) and the 1977 Transit Treaty between the U.S. and Canada. As discussed

in Attorney General Nessel’s brief, those issues are defenses and so cannot be




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considered as “necessarily arising.” That conclusion is dispositive. It alone requires

a reversal of the District Court decision and a remand.

    We offer here additional grounds for remand because the Enbridge claims

suffer another fatal defect: under the PSA and the 1977 Transit Treaty, Congress

expressly authorizes states to take precisely the kinds of actions that Attorney

General Nessel took in this case. Congress’ authorization of Attorney General

Nessel’s revocation of Enbridge’s easement under state law means that Enbridge’s

removal action fails under two of the required Grable tests: the state’s claim cannot

raise a federal issue when Congress has said there is no federal issue, and allowing

removal to a federal forum would upset the balance Congress established when it

preserved state authority over matters like these.

   A. Because the Federal Pipeline Safety Act preserves the authority for
      State officials to make location and routing decisions for Line 5, the
      state’s claim does not raise a federal issue, and removal would upset the
      Congressionally-established federal-state balance.

   The plain language of the PSA unambiguously preserves the State’s right to

prescribe the location or routing of a pipeline facility. 49 U.S.C. § 60104(c)

provides that “[a] State authority may not adopt or continue in force safety

standards for interstate pipeline facilities or interstate pipeline transportation.”

(emphasis added). However, the PSA makes clear that it “does not authorize the

Secretary of Transportation to prescribe the location or routing of a pipeline

facility.” Id. § 60104(e) (emphasis added). The State of Michigan owns, and holds
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in public trust, the Great Lakes bottomlands on which Enbridge’s Easement for

Line 5 is located. Attorney General Nessel has determined that the location of the

dual lines on its bottomlands and the state easement authorizing that location are

inconsistent with the public trust. This decision is not an attempt on the part of the

State to tell Enbridge how it must operate its pipelines, nor an attempt at imposing

a stricter “safety standard” on its operation. Id. § 60104(c).

    The caselaw interpreting the PSA confirms this plain reading of the statute. In

Wash. Gas Light Co. v. Prince George’s Cnty. Council, 711 F.3d 412 (4th Cir.

2013), the court ruled that the PSA does not preempt state and local government

authority to determine the location of pipeline infrastructure consistent with their

land use and zoning laws. Even where the stated reasons for the new zoning plans

were to “[r]estore, protect, and enhance the environment” surrounding sensitive

areas, a locational decision taking such factors into account does not convert the

decision into a safety standard. Id. at 421.

   In fact, it is within the discretion of local officials to completely prohibit

pipeline companies from using their preferred location altogether. Id. Such

prohibitions are not safety standards. Portland Pipe Line Corp. v. City of S.

Portland, 288 F.Supp.3d 321, 429-30 (D. Me. 2017) (“[A] prohibition is not a

standard,” and “[u]nder their police power, states and localities retain their ability

to prohibit pipelines altogether in certain locations.”). This remains true even in

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instances where prohibitions are based on pipeline safety concerns. In Texas

Midstream Gas Servs., LLC v. City of Grand Prairie, 608 F.3d 200, 210 (5th Cir.

2010), the Fifth Circuit rejected a pipeline operator’s challenge to a city zoning law

that required a 300-foot setback between natural gas compressor stations and any

public roads in order to “minimize the possibility of a fire” setting the structure

ablaze. Though the law was enacted primarily to account for safety concerns, the

decision to prohibit the structure close to public roads was inherently about the

pipeline’s location. Both the Fourth and Fifth Circuit agree: locational decisions

that take safety into account are not themselves safety standards and are therefore

not governed by the PSA.

   Attorney General Nessel’s state law public trust claim to revoke the 1953

easement because of its violation of the state’s public trust responsibilities is

expressly and inherently locational. The claim seeks to revoke the easement on two

grounds: that the easement was void from its inception because the issuer of the

easement never made findings that an easement in that location was consistent with

the Michigan public trust law; and the location of the pipeline (perpendicular to a

busy shipping channel where anchor strikes have already occurred) creates an

unreasonable risk of an oil spill that would devastate the Great Lakes and the

public trust rights in the Lakes. Attorney General Nessel’s public trust claim




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imposes no conditions, safety or otherwise; it seeks to revoke the easement because

the pipeline is located in the wrong place.

   Even if this express locational purpose were not enough, Attorney General

Nessel’s state action cannot be anything but locational because of its basis in the

Michigan public trust doctrine. As a common law state property doctrine, the

public trust doctrine applies only to certain critical locations where the state owns

property for the benefit of the people: here, the bottomlands of the Great Lakes.

The U.S. Supreme Court declared that location, and not others, as being subject to

the public trust doctrine in the seminal Illinois Central case. Illinois Cent. R. Co. v.

Illinois, 146 U.S. 387 (1892). The Michigan Supreme Court followed suit in Glass

v. Goeckel, 703 N.W.2d 58, 64 (Mich. 2005), holding that “the state . . . has an

obligation to protect and preserve the waters of the Great Lakes and the lands

beneath them for the public.”

   B. The Pipeline Safety Act does not prevent the State from revisiting its 70-
      year-old decision about the location of Line 5.

      Enbridge has argued elsewhere that locational decisions under 49 U.S.C. §

60104(e) apply only to new pipelines, as opposed to existing pipelines like Line 5.

But the language of the PSA makes no distinction between new and existing

pipelines, saying only that the PSA “does not authorize the Secretary of

Transportation to prescribe the location or routing of a pipeline facility.” The

“location . . . of a pipeline facility” is not bounded in time. Location is where the
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pipeline is now, not just where the pipeline was originally placed. See Panhandle

Eastern Pipeline Co. v. Madison Cnty., 898 F.Supp. 1302, 1315 (S.D. Ind. 1995)

(County decision to order pipeline company to change the location of its pipeline

and bury the pipeline deeper is not preempted by the PSA).

     Enbridge’s claim that the PSA locational carveout only applies to new pipelines

would lead to absurd practical results. When the 1953 Easement was granted, the

infrastructure near the Straits of Mackinac was sparse. In fact, construction of the

Mackinac Bridge did not begin until 1954 and did not open to traffic until 1957.29

The Bridge allowed for increased commercial activities as many businesses,

including several members of the Business Network, began to settle near the

Straits. Several years after the construction of the Bridge, the St. Lawrence Seaway

opened in 1959.30 This marked the first time that international shipping could

traverse the Great Lakes on their way to and from major ports like Chicago and

Milwaukee, and today commercial vessels make over 3,000 trips through the

seaways annually.31 The Straits of Mackinac thus became an important waterway



29
   History of the Bridge, Mackinac Bridge Authority
https://www.mackinacbridge.org/history/history-of-the-
bridge/#:~:text=The%20bridge%20was%20officially%20begun,the%20turbulent%
20Straits%20of%20Mackinac (last visited May 2, 2023).
30
   Seaway Fact Sheet, Dept. of Transp.,
https://www.seaway.dot.gov/sites/seaway.dot.gov/files/docs/Seaway%20Fact%20S
heet.pdf (last visited May 2, 2023).
31
   Id.
                                          23
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for the transportation of commercial materials and is today one of the busiest

shipping channels in the nation. The 1953 Easement could not have contemplated

this commercial boom, which leaves Line 5 in the way of shipping traffic and

Michiganders who recreate in the water near popular tourist attractions like

Mackinac Island. To suggest that State officials cannot reroute a pipeline in light of

the economic and infrastructural growth near the Straits defies logic.

   Indeed, the public trust doctrine requires the Attorney General to remedy the

problems associated with the 1953 Easement. As the “trustee of public rights” to

the Great Lakes bottomlands, Michigan officials are obligated with a “high,

solemn, and perpetual trust, which it is the duty of the state to forever maintain.”

Collins v. Gerhardt, 211 N.W. 115, 118 (Mich. 1926). In keeping with this

perpetual duty, the State must revisit prior decisions that have become obstacles to

the public trust doctrine at present. This principle is embedded in the ruling in

Illinois Central. Initially, the city of Chicago had granted Illinois Central the

exclusive right to build infrastructure along the Lake Michigan shoreline. This

grant of authority was codified by the Illinois State legislature in 1869. Illinois

Cent. R. Co., 146 U.S. at 447. However, the Illinois legislature repealed this law in

1873, stripping Illinois Central of its right to build along the water and land that the

Court would reserve for the state. Id. at 449. The Court found that this revocation

of authority was proper, as the states must have the ability to protect and preserve

                                           24
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the navigable waters of the U.S. for public use. This ruling authorizes, and in fact

requires, states to review past decisions that violate their perpetual duties under the

public trust doctrine. Because the location of infrastructure along Lake Michigan

threatened Illinois’ ability to perform its duties as trustee of the Great Lakes, the

U.S. Supreme Court held that the state could not be forced into continued violation

because a locational decision had already once been made. Likewise, Michigan

officials cannot be forced into continued violations of the public trust doctrine due

to the decision to place a pipeline in the Straits of Mackinac 70 years ago.

   C. The 1977 Transit Treaty also preserves state authority over pipelines
      and thus is not a federal issue justifying removal.

      As discussed earlier and in the Attorney General’s brief, the 1977 Transit

Treaty is a defense and thus cannot be the basis of removal. In addition, like the

PSA, the 1977 Transit Treaty expressly preserves the authority of “appropriate

governmental authorities” like Michigan to issue regulations, terms, conditions,

and requirements of fossil fuel pipelines like Line 5 for the purposes of

environmental protection and safety. Because Attorney General Nessel’s state

lawsuit is to protect the Great Lakes, her action is exempted from the very Treaty

that Enbridge claims is the basis for federal jurisdiction under the first and third

prongs of Grable. In ratifying the Treaty and its state law exemption, Congress has

spoken: the state is to have primacy in such matters.



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      Article II of the 1977 Transit Treaty prohibits any “public authority in the

territory of either party” from “impeding” or “interfering” with the transmission of

hydrocarbons in transit. Agreement between the Government of Canada and the

Government of the United States of America Concerning Transit Pipelines, U.S.-

Can., Jan. 28, 1977, 28 U.S.T. 7449. But the Treaty’s provisions are limited by an

express savings clause that reserves the authority of “governmental authorities” in

both countries to regulate pipelines and hydrocarbons in transit, so long as the

regulations are applied “equally” to all pipeline operations in the authorities’

jurisdiction. Id. at art. IV. Specifically, Article IV of the Treaty states,

      Notwithstanding the provisions of Article II [regarding impeding the flow
      of oil in pipelines] …. Pipeline[s] shall be subject to regulations by the
      appropriate governmental authorities… with respect to such matters as the
      following: (a). pipeline safety…; (b) environmental protection…

Id. at art. IV(1) (emphasis added). The treaty further defines that the regulations by

appropriate governmental authorities include “regulations, requirements, terms and

conditions.” Id. at art. IV(2).

      Attorney General Nessel’s legal action to protect the Great Lakes by

requiring Enbridge to stop operating its hazardous pipeline on state-owned

bottomlands is precisely the type of action that the Treaty preserves for states.

Enbridge does not—and could not—deny that Michigan and Attorney General

Nessel are “appropriate governmental authorities” or that the state has authority

over the lakebed in the Straits. See Idaho v. Coeur d’Alene Tribe of Idaho, 521
                                            26
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U.S. 261, 283 (holding that “lands underlying navigable waters have historically

been considered sovereign lands” and that “[s]tate ownership of them has been

considered an essential attribute of sovereignty” (internal quotation omitted)). Nor

does Enbridge argue that the Attorney General’s requirements at issue here—

implementing the public trust doctrine—are discriminatory. Michigan’s public

trust doctrine is a generally applicable and non-discriminatory law that is deeply

rooted in U.S. Supreme Court and Michigan Supreme Court precedent.

       So once again Congress has spoken to preserve state authority. The 1977

Transit Treaty cannot possibly be raised as a federal issue arising under the

Attorney General’s state law claim (the first prong of Grable) because Article IV

of the Treaty itself exempts Attorney General Nessel’s actions from being

governed by the Treaty. And under the third Grable prong, holding otherwise

would upset the balance of power that Congress has set under Article IV, which

maintains state authority over pipelines.


                                  CONCLUSION

       For the aforementioned reasons, amicus Great Lakes Business Network

respectfully requests this Court to reverse the District Court decision and remand

this case to state court.

                                       Respectfully submitted,

                                       (s) Andy Buchsbaum

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                           CERTIFICATE OF SERVICE

I certify that on September 22, 2023, the foregoing document was served on all

parties or their counsel of record through the CM/ECF system if they are registered

users or, if they are not, by placing a true and correct copy in the United States

mail, postage prepaid, to their address of record (designated below).



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